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School Immunization Requirements


Effective date: 8/16/19


                             SUMMARY OF EXPRESS TERMS

       This emergency regulation will amend Subpart 66-1 (School Immunization

Requirements) to conform to recent amendments to Sections 2164 and 2168 of the Public Health

Law (PHL). In addition, these amendments make the regulations consistent with national

immunization recommendations and guidelines. The regulations also define the phrase “may be

detrimental to the child’s health” for purposes of medical exemptions to vaccination

requirements. The regulations will be effective immediately.



       Technical amendments throughout Section 66-1.1 update references to the “Advisory

Committee on Immunization Practices” (ACIP) schedule to its current title, the “Advisory

Committee on Immunization Practices Recommended Child and Adolescent Immunization

Schedule for ages 18 years or younger.” Technical amendments also clarify the grades covered

by the varicella, poliomyelitis and vaccine interval requirements.



       Amendments to subdivision (g) of section 66-1.1 clarify that positive serologic tests for

all three serotypes of poliomyelitis submitted to a New York State school prior to September 1,

2019 may be accepted as evidence of poliomyelitis immunity. However, serologic tests against

poliomyelitis submitted on or after September 1, 2019 may not be accepted in place of

poliomyelitis vaccination, in accordance with current ACIP guidance. Similar amendments are

made to section 66-1.6 to incorporate these changes into the certificate of immunization.
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       A new subdivision (k) of section 66-1.1 adds a definition of laboratory confirmation of

measles, mumps, rubella and varicella infections, and amendments to subdivision (g) of that

section expand the definition of immunity to include laboratory confirmation against these

diseases. Laboratory confirmation of immunity means a positive culture or polymerase chain

reaction test against measles, mumps, rubella or varicella, or a positive blood test for

Immunoglobulin M against measles or rubella, where such positive laboratory test is not

otherwise explained by recent vaccination. Amendments to section 66-1.6 add laboratory

confirmation of measles, mumps, rubella and varicella to the certificate of immunization.



       A new subdivision (l) of section 66-1.1 defines “may be detrimental to the child’s health”

to mean that a physician has determined that a child has a medical contraindication or precaution

to a specific immunization consistent with ACIP guidance. Amendments to subparagraph (ii) of

paragraph (4) of subdivision (c) of section 66-1.2 require that the reason why an immunization is

detrimental to a child’s health be documented in the New York State Immunization Information

System. Additionally, amendments to subdivision (c) of section 66-1.3 require the use of medical

exemption forms approved by the New York State Department of Health or New York City

Department of Education; a written statement from a physician is no longer allowed.



       Finally, subdivision (d) of section 66-1.3 is repealed, and amendments to section 66-1.10

remove references to subdivision (d) of section 66-1.3.




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Pursuant to the authority vested in the Commissioner of Health by sections 2164(10) and

2168(13) of the Public Health Law (PHL), sections 66-1.1, 66-1.2, 66-1.3, 66-1.6, and 66-1.10

of Title 10 (Health) of the Official Compilation of Codes, Rules and Regulations of the State of

New York are hereby amended, to be effective upon filing with the Secretary of State, to read as

follows:



Subdivisions (f), (g), (h), (i), and (j) of section 66-1.1 are amended, and new subdivisions (k), (l)

and (m) are added, to read as follows:

(f)    Fully immunized means that an adequate dosage and number of doses of an immunizing

       agent licensed by the United States Food and Drug Administration has been received

       commensurate with the child’s age, or the child has been demonstrated to have immunity

       as defined in this section.

       (1)     For those immunizations required by section 2164 of the Public Health Law only,

               the number of doses that a child shall have at any given age, and the minimum

               intervals between these doses, shall be in accordance with the Advisory

               Committee on Immunization Practices Recommended Child and Adolescent

               Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18

               [Years] years or younger, issued by the Advisory Committee on Immunization

               Practices (ACIP) as [set forth in Morbidity and Mortality Weekly Reports

               (MMWR) February 5, 2016 Volume 65 (No. 4)] referenced in Chapter 35 of the

               Laws of 2019 and posted on the Centers for Disease Control and Prevention

               website [at http://www.cdc.gov/vaccines/schedules. The department will amend

               this section as necessary to reflect revised ACIP Recommended Immunization


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       Schedules]. Any child who completed an immunization series following

       minimum intervals prescribed in an ACIP Recommended Immunization Schedule

       pre-dating February [2016] 2019 shall continue to be deemed in compliance as

       long as the number of vaccine doses the child received conforms to the current

       ACIP Recommended Immunization Schedule. [The Advisory Committee on

       Immunization Practices Recommended Immunization Schedules for Persons

       Aged 0 through 18 Years issued by the ACIP as set forth in the MMWR February

       5, 2016 Volume 65 (No. 4) is hereby incorporated by reference, with the same

       force and effect as if fully set forth at length herein. It is available for public

       inspection and copying at the Regulatory Affairs Unit, New York State

       Department of Health, Corning Tower, Empire State Plaza, Albany, New York

       12237. Copies are also available from the United States Department of Health and

       Human Services, Centers for Disease Control and Prevention (CDC), Atlanta,

       Georgia 30333, and from the CDC website at

       http://www.cdc.gov/vaccines/schedules/.]

       (i)     For all vaccinations, except as provided in subparagraphs (ii) through (vii)

               [below] of this paragraph, children shall be assessed upon school entry or

               attendance, and annually thereafter, and be fully immunized

               commensurate with their age.

       (ii)    Any child who has satisfied the immunization requirements in effect in

               regulation on June 30, 2014, entering [ninth through] twelfth grade (or

               comparable age level grade equivalents) in the [2016-2017] 2019-2020

               school year only, shall be deemed in compliance with the immunization


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               requirements set forth in this section, including those set forth in

               subparagraphs (iii) through (vi) [below] of this paragraph, until such child

               graduates from school; provided, however, that such child shall comply

               with the meningococcal vaccination requirement set forth in

               subparagraph (vii) [below] of this paragraph.

       (iii)   Any child entering or attending kindergarten through twelfth grade must

               have received the following vaccine doses, with the minimum intervals

               between these doses as established by the Advisory Committee on

               Immunization Practices Recommended Child and Adolescent

               Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18

               [Years incorporated by reference herein] years or younger:

               (a)    Two adequate doses of measles containing vaccine, two adequate

                      doses of mumps containing vaccine, and at least one adequate dose

                      of rubella containing vaccine; and

               (b)    Five adequate doses of diphtheria and tetanus toxoids and acellular

                      pertussis vaccine. If, however, the fourth dose of diphtheria and

                      tetanus toxoids and acellular pertussis vaccine was given at [forty-

                      eight] 48 months of age or older, only four adequate doses of

                      vaccine are required. The final dose of vaccine must be received

                      no sooner than [forty-eight] 48 months of age. Doses given after

                      age seven should start with one dose of Tdap.

       (iv)    [For poliomyelitis vaccination, beginning on or after July 1, 2014, children

               shall be assessed upon entry or attendance to kindergarten and sixth grade,


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              and/or their equivalent grades, and must have received four] Four

              adequate doses of poliomyelitis vaccine. If, however, the third adequate

              dose of poliomyelitis vaccine was given at [forty-eight] 48 months of age

              or older, only three adequate doses of vaccine are required. The final dose

              of vaccine must be received no sooner than [forty-eight] 48 months of

              age. [As the students enrolling in kindergarten and sixth grade move up a

              grade level each year, the students enrolling in those higher grades, or

              grade equivalent, must be appropriately immunized against poliomyelitis.]

              Beginning on or after September 1, 2016, children shall be assessed upon

              entry or attendance to child-caring centers, day-care agencies, nursery

              schools and pre-kindergarten programs and must be fully immunized

              against poliomyelitis commensurate with their age.

       (v)    [For varicella vaccination, beginning on and after July 1, 2014, children

              shall be assessed upon entry or attendance to kindergarten and sixth grade,

              and/or their equivalent grades, and must have received two] Two adequate

              doses of varicella vaccine. [As the students enrolling in kindergarten and

              sixth grade move up a grade level each year, the students enrolling in

              those higher grades, or grade equivalent, must be appropriately immunized

              against varicella.]

       (vi)   By entry to sixth grade or a comparable age level grade equivalent, any

              child [eleven] 11 years of age or older must have received one dose of a

              booster immunization containing tetanus and diphtheria toxoids and

              acellular pertussis vaccine.


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             (vii)   For meningococcal vaccination, beginning on and after September 1,

                     2016, children shall be assessed upon entry or attendance to seventh grade,

                     or a comparable age level grade equivalent, and must have received one

                     adequate dose of vaccine upon such entry or attendance. Children shall be

                     assessed upon entry or attendance to twelfth grade, or a comparable age

                     level grade, and must have received two adequate doses of meningococcal

                     vaccine upon such entry or attendance. If, however, the first dose of

                     meningococcal vaccine was given at [sixteen] 16 years of age or older,

                     then only one adequate dose of meningococcal vaccine is required for

                     twelfth grade.

       (2)   If a child is not fully immunized, catch-up immunization must then take place

             according to the Advisory Committee on Immunization Practices Recommended

             Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

             through] ages 18 [Years incorporated by reference in this subdivision] years or

             younger.



(g)    Immunity means that:

       (1)   for measles, mumps, and rubella, [hepatitis B, and all three serotypes of

             poliomyelitis found in the polio vaccines,] a child has had a positive serologic

             test, as defined in subdivision (h) of this section [66-1.1(h)], for those diseases, or

             laboratory confirmation of disease, as defined in subdivision (k) of this section;

             [or]




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       (2)    for varicella, a child has either had a positive serologic test, as defined in

              subdivision (h) of this section [66-1.1(h),]; laboratory confirmation of disease, as

              defined in subdivision (k) of this section; or had the disease as verified by a

              physician, nurse practitioner, or physician’s assistant statement[.];

       (3)    for hepatitis B, a child has had a positive serologic test, as defined in

              subdivision (h) of this section; or

       (4)    for poliomyelitis, positive serologic tests, as defined in subdivision (h) of this

              section, for all three serotypes of poliomyelitis, submitted to a New York State

              school prior to September 1, 2019. Serologic tests against poliomyelitis submitted

              on or after September 1, 2019 will not be accepted in place of poliomyelitis

              vaccination.



(h)    Serologic test means a positive blood test for Immunoglobulin G (IgG) or for hepatitis B,

       a blood test for hepatitis B surface antibody, as determined by the testing lab’s criteria.

       Serology results reported as equivocal are not acceptable proof of immunity. A positive

       serologic test can be accepted in place of vaccination only for the following diseases:

       measles, mumps, rubella, varicella, and hepatitis B [and all three serotypes of

       poliomyelitis found in the polio vaccines].



(i)    [Grace period] Age appropriate means that vaccine doses administered within [4] four

       calendar days of the recommended minimum age or interval will be considered valid.



(j)    In process means that:


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 (1)   a child has received at least the first dose in each immunization series required by

       section 2164 of the Public Health Law (except in the case of live vaccines in

       which a child should wait 28 days after one live vaccine administration before

       receiving another live vaccine, if the vaccines were not given on the same day)

       and has age appropriate appointments to complete the immunization series

       according to the Advisory Committee on Immunization Practices Recommended

       Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

       through] ages 18 [Years incorporated by reference at subdivision (f) of this

       section] years or younger; or

 (2)   a child is obtaining serologic tests within [30] 14 days of notification of the

       parent/guardian that such testing is requested; or

 (3)   a child’s serologic test(s) are negative, and therefore the child in question has

       appointments to be immunized within 30 days of notification of the

       parent/guardian to complete, or begin completion, of the immunization series

       based on the Advisory Committee on Immunization Practices Recommended

       Child and Adolescent Immunization [Schedules] Schedule for [Persons Aged 0

       through] ages 18 [Years incorporated by reference at subdivision (f) of this

       section] years or younger.

 (4)   Children who are not fully immunized can only continue to attend school if they

       are in the process of completing the immunization series based on the Advisory

       Committee on Immunization Practices Recommended Child and Adolescent

       Immunization [Schedules] Schedule for [Persons Aged 0 through] ages 18 [Years

       incorporated by reference at subdivision (f) of this section] years or younger. If a


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               child does not receive subsequent doses of vaccine in an immunization series

               according to the age appropriate ACIP catch-up schedule, including at appropriate

               intervals, the child is no longer in process and must be excluded from school

               within 14 days of the missed dose, if not otherwise exempt in accordance with

               section 66-1.3 of this Subpart.



(k)     Laboratory confirmation of disease means, for measles, mumps, rubella or varicella, a

        positive laboratory test, either culture or polymerase chain reaction, detecting either the

        virus or viral-specific nucleic acid in a clinical specimen from the child or, for measles or

        rubella, a positive blood test for Immunoglobulin M (IgM) where such positive

        laboratory test is not otherwise explained by recent vaccination.



(l)     May be detrimental to the child’s health means that a physician has determined that a

        child has a medical contraindication or precaution to a specific immunization consistent

        with ACIP guidance or other nationally recognized evidence-based standard of care.



(m)     Attend or admit means enrolled in, or admitted to, a school for the purpose of

        participating in or receiving services at such school, including but not limited to special

        education or related services, participating in intra-scholastic or interscholastic sports, or

        other school-sponsored events or activities; or being transported on a school bus or

        vehicle with other school children; except where such services, transportation, events, or

        activities are open to the general public.




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Subparagraph (ii) of paragraph (4) of subdivision (c) of section 66-1.2 is hereby amended to read

as follows:

               (ii)    For individuals exempt from administration of vaccines, providers must

                       submit patient information, including the reason [for the exemption] that

                       such immunization may be detrimental to the child’s health, as defined in

                       subdivision (l) of this section, to the statewide immunization information

                       system within 14 days following the in-person clinical interaction that

                       occurs at or after what would normally have been the due date for

                       administration of an age-appropriate immunization to that child, according

                       to current national immunization recommendations.



Subdivision (c) of section 66-1.3 is hereby amended to read as follows:

(c)     A signed, completed [sample] medical exemption form [issued] approved by the

        NYSDOH or [NYCDOHMH or a signed statement] NYC Department of Education from

        a physician licensed to practice medicine in New York State certifying that immunization

        may be detrimental to the child’s health, containing sufficient information to identify a

        medical contraindication to a specific immunization and specifying the length of time the

        immunization is medically contraindicated. The medical exemption must be reissued

        annually. The principal or person in charge of the school may require additional

        information supporting the exemption.



Subdivision (d) of section 66-1.3 is repealed.




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Section 66-1.6 is hereby amended to read as follows:

The certificate of immunization required in section 66-1.3(a) of this Subpart shall be prepared

and signed by a health practitioner licensed in New York State and shall specify the products

administered and the dates of administration. It may also show physician, nurse practitioner, or

physician assistant-verified history of varicella disease and/or [laboratory evidence of immunity

to] positive serologic tests for measles, mumps, rubella, varicella, and/or Hepatitis B [and all 3

serotypes of poliomyelitis contained in the polio vaccines] and/or laboratory confirmation of

disease for measles, mumps, rubella and/or varicella. Certificates of immunization issued prior to

September 1, 2019 may also show positive serologic tests for all 3 serotypes of poliomyelitis

contained in the polio vaccines. A record issued by NYSIIS, the CIR, an official immunization

registry from another state, an electronic health record, and/or an official record from a foreign

nation may be accepted as a certificate of immunization without a health practitioner’s signature.



Section 66-1.10 is hereby amended to read as follows:

(a)     For those diseases listed in PHL [§] section 2164 only, in the event of an outbreak, as

        defined in section 2.2(d) of this Title, of a vaccine-preventable disease in a school, the

        commissioner, or his or her designee, or in the City of New York, the Commissioner of

        Health of the New York City Department of Health and Mental Hygiene, may order the

        appropriate school officials to exclude from attendance all students who either have been

        exempted from immunization under section 66-1.3(c) [or (d)] of this Subpart, or are in

        the process of receiving required immunizations pursuant to section 66-1.3(b) of this

        Subpart.




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(b)     The exclusion shall continue until the commissioner or his or her designee, or in the City

        of New York, the Commissioner of Health of the New York City Department of Health

        and Mental Hygiene, determines that the danger of transmission has passed.

(c)     Schools must maintain a list of susceptible students who should be excluded from

        attendance in the event of an outbreak of vaccine preventable disease. This list must

        include all students who have been excused from immunization under section 66-1.3(c)

        [or (d)] of this Subpart and students who are in the process of completing immunization

        series or awaiting the results of serologic testing for any vaccine preventable disease

        specified under section 66-1.3(b) of this Subpart. The list shall be updated each time a

        new student enrolls in the school or a student’s immunization status changes.




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                                 Regulatory Impact Statement



Statutory Authority:

       The Commissioner of Health is authorized pursuant to Section 2164(10) of the Public

Health Law (PHL) to adopt and amend rules and regulations necessary to effectuate the

provisions and purposes of Section 2164 of the PHL. The Commissioner of Health is authorized

pursuant to Section 2168(13) of the PHL to adopt and amend rules and regulations necessary to

effectuate the provisions of Section 2168 of the PHL.



Legislative Objectives:

       The legislative objective of PHL § 2164 includes the protection of the health of residents

of the state by assuring that children are immunized according to current recommendations

before attending day care, pre-kindergarten, or school, to prevent the transmission of vaccine

preventable disease and accompanying morbidity and mortality. The legislative objective of PHL

§ 2168 is to establish a comprehensive database of complete, accurate and secure immunization

records.

       Chapter 35 of the Laws of 2019 amended both PHL §§ 2164 and 2168, repealing the

exemption from vaccination requirements for children whose parents had non-medical objections

to immunizations.



Needs and Benefits:

       There currently exist outbreaks of measles in New York City and in the Counties of

Rockland, Orange, and Westchester, and cases have also been identified in the County of


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Sullivan. Measles is a viral disease transmitted via the airborne route when a person with

measles coughs or sneezes. It is one of the most contagious diseases known. Following exposure

to the virus about 90% of people who are susceptible will develop measles.

        Measles can be a very serious disease. This is especially true for children less than 5

years of age, adults who are over 20 years of age, pregnant women and those who are

immunocompromised. Common complications include ear infection and diarrhea. Severe

complications include pneumonia and encephalitis. About one child out of 1,000 will get

encephalitis, which can result in seizures. Deafness and other complications can occur. For every

1,000 cases of measles, one or two children will die, despite the best medical care. Measles can

also cause premature birth in pregnant women.

        The measles vaccine is very effective and remains the best protection against the disease.

One dose of measles vaccine is about 93% effective at preventing the measles if exposed to the

virus. Two doses are about 97% effective. The measles vaccine is also safe and serious side

effects are rare.

        According to the Centers for Disease Control (CDC), sustaining a high vaccination rate

among school children is vital to the prevention of disease outbreaks, including the

reestablishment of diseases that have been largely eradicated in the United States, such as

measles. According to State data from 2017-2018, there are at least 280 schools in New York

with an immunization rate below 85%, including 211 schools below 70%, far below the CDC’s

goal of at least a 95% vaccination rate to maintain herd immunity.

        Endemic measles transmission had been eliminated in the United States. However,

because some individuals have chosen not to receive the vaccine and to not have their children




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vaccinated, outbreaks stemming from imported cases have occurred and new cases continue to

occur in multiple counties across New York State.

       In response to the current measles outbreak, the Legislature enacted Chapter 35 of the

Laws of 2019, which repealed non-medical exemptions to the vaccination requirements for

admission to day care, pre-kindergarten, or school. By increasing the number of children

immunized against vaccine-preventable diseases like measles, this legislation will prevent

outbreaks and protect both the immunized children and those members of the community who

cannot be vaccinated for medical reasons.

       This emergency regulation conforms existing regulations with the provisions Chapter 35

of the Laws of 2019, by eliminating any reference to non-medical exemptions to vaccination

rules for school admissions.

       In addition, this emergency regulation clarifies that a child may only receive a medical

exemption from vaccination requirements when there is a medical contraindication or precaution

to a specific immunization consistent with ACIP guidance. The regulation further requires that

such contraindication be documented on forms approved by the Department of Health

(Department) or the New York City Department of Education, and that they be documented in

the New York State Immunization Information System. Although most physicians act in good

faith and only issue medical exemptions for true medical contraindications to vaccination, as

demonstrated by the experience of California, a small number may issue medical exemptions for

non-medical reasons. In 2015, the State of California removed non-medical exemptions to

school immunization requirements without taking steps to strengthen the rules governing

medical exemptions. Over the next three years, the use of medical exemptions to school

immunization requirements more than tripled. By providing clear, evidence-based guidance to


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physicians, this emergency regulation will help prevent medical exemptions being issued for

non-medical reasons.

         Finally, this regulation makes several technical amendments to conform with current

guidance from the CDC’s Advisory Committee on Immunization Practices (ACIP), including

clarifying the grades covered by varicella, poliomyelitis and vaccine interval requirements;

removing poliovirus from the list of diseases for which a positive serologic test is acceptable

proof of immunity; and permitting laboratory confirmation of immunity to measles, mumps,

rubella and varicella infections.



Costs:

Costs to the Regulated Entity:

         Chapter 35 of the Laws of 2019 eliminates non-medical exemptions to school vaccination

requirements. This created additional administrative work for the schools and day care

businesses that are regulated under PHL § 2164. This regulation implements the law but does not

impose any additional costs. Regulated entities that were already in compliance with the law will

not have significant additional costs.



Costs to Local Government:

         This regulation will affect schools, many of which are operated by local governments.

The costs are as described above.




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Costs to the Department of Health:

       The Department intends to implement Chapter 35 of the Laws of 2019 and this regulation

within existing appropriations.



Local Government Mandates:

       Schools must already comply with Chapter 35 of the Laws of 2019.



Paperwork:

       Children who previously had non-medical exemptions to school vaccination requirements

will now have to provide regulated entities with evidence of immunity or a medical exemption.

Regulated entities will need to maintain new paperwork for students who previously had

religious exemptions.



Duplication:

       These amendments do not duplicate, overlap or conflict with any Federal and State laws.



Alternatives:

       An alternative would be not to amend the regulation to align with the Public Health Law

as enacted by the Legislature. This alternative was rejected as unacceptable and inconsistent with

the Department’s duty to execute and implement the laws of New York State.




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Federal Standards:

       The Centers for Disease Control and Prevention maintains immunization schedules and

guidelines for when immunization may be detrimental to a child’s health because a child has a

medical contraindication or precaution to a specific immunization.



Compliance Schedule:

       There is no compliance schedule imposed by these amendments, which shall be effective

upon filing with the Secretary of State.



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       Regulatory Flexibility Analysis for Small Businesses and Local Governments


Effect of Rule:

       This emergency regulation will apply to private schools, including parochial schools, and

day care, some of which may be small businesses, as well as public schools operated by local

governments. These regulated entities will be required to change their policies and procedures

for school attendance to comply with PHL § 2164 and these regulations.

       This emergency regulation will also apply to physicians who may also be considered

small businesses. In order to reduce the risk of medical exemptions being issued for non-medical

reasons, physicians will be required to document the reason for granting medical exemptions in

the New York State Immunization Information Systems (NYSIIS) and use medical exemption

forms approved by the Department or the New York City Department of Education.



Compliance Requirements:

       All day care, pre-kindergarten, private and public schools must already comply with the

requirements of Chapter 35 of the Laws of 2019. All physicians providing medical exemptions

must comply with the requirement to document such exemptions as described above.



Professional Services:

       There are no additional professional services required as a result of this regulation.



Compliance Costs:

       Chapter 35 of the Laws of 2019 eliminated the non-medical exemption to school

vaccination requirements. This created additional administrative work for the schools and day

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care businesses that are regulated under PHL § 2164. This regulation implements the law but

does not impose any additional costs. Regulated entities that were already in compliance with the

law will not have significant additional costs. Physicians will not incur any additional costs.



Economic and Technological Feasibility:

       This proposal is economically and technically feasible, as it does not require any special

technology and does not impose an unreasonable financial burden on private schools, day care

centers, public schools, or physicians.



Minimizing Adverse Impact:

        The Department will work with regulated entities to ensure that they are aware of the

requirements and have the information necessary to comply.



Small Business and Local Government Participation:

       Small business, local government, and the public are invited to comment during the

Codes and Regulations Committee meeting of the Public Health and Health Planning Council.



Cure Period:

        Chapter 524 of the Laws of 2011 requires agencies to include a “cure period” or other

opportunity for ameliorative action to prevent the imposition of penalties on a party subject to

enforcement when developing a regulation or explain in the Regulatory Flexibility Analysis why

one is not included. As this proposed regulation does not create a new penalty or sanction, no

cure period is necessary.


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              RURAL AREA FLEXIBILITY ANALYSIS

Types and Estimated Numbers of Rural Areas:

       This rule applies uniformly throughout the state, including in rural areas. Rural areas are

defined as counties with a population less than 200,000 and counties with a population of

200,000 or greater that have towns with population densities of 150 persons or fewer per square

mile. The following 43 counties have a population of less than 200,000 based upon the United

States Census estimated county populations for 2010 (http://quickfacts.census.gov).

       Allegany County             Greene County             Schoharie County
       Cattaraugus County          Hamilton County           Schuyler County
       Cayuga County               Herkimer County           Seneca County
       Chautauqua County           Jefferson County          St. Lawrence County
       Chemung County              Lewis County              Steuben County
       Chenango County             Livingston County         Sullivan County
       Clinton County              Madison County            Tioga County
       Columbia County             Montgomery County         Tompkins County
       Cortland County             Ontario County            Ulster County
       Delaware County             Orleans County            Warren County
       Essex County                Oswego County             Washington County
       Franklin County             Otsego County             Wayne County
       Fulton County               Putnam County             Wyoming County
       Genesee County              Rensselaer County         Yates County
                                   Schenectady County


The following counties have a population of 200,000 or greater and towns with population

densities of 150 persons or fewer per square mile. Data is based upon the United States Census

estimated county populations for 2010.


           Albany County             Monroe County              Orange County
           Broome County             Niagara County             Saratoga County
           Dutchess County           Oneida County              Suffolk County
           Erie County               Onondaga County




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         This regulation will apply all day care, pre-kindergarten, and private and public schools,

including parochial schools, as well as all physicians, throughout New York, including in rural

areas.



Reporting, Recordkeeping and Other Compliance Requirements; and Professional
Services:

         This emergency regulation will apply to public schools and private schools, including

parochial schools, and day care in rural areas. These regulated entities will be required to change

their policies and procedures for school attendance to comply with PHL § 2164 and these

regulations.

         This emergency regulation will also apply to physicians in rural areas. In order to reduce

the risk of medical exemptions being issued for non-medical reasons, physicians will be required

to document the reason for granting medical exemptions in the New York State Immunization

Information Systems (NYSIIS) and use medical exemption forms issued by the Department or

the New York City Department of Education.

         There are no additional professional services required as a result of this regulation.



Costs:

         Chapter 35 of the Laws of 2019 eliminated the non-medical exemption to school

vaccination requirements. This created additional administrative work for the schools and day

care businesses that are regulated under PHL § 2164. This regulation implements the law but

does not impose any additional costs. Regulated entities that were already in compliance with the

law will not have significant additional costs. Physicians will not incur any additional costs.



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Minimizing Adverse Impact:

       The Department will work with regulated entities in rural areas to ensure that they are

aware of the requirements and have the information necessary to comply.



Rural Area Participation:

       Small business, local government, and the public are invited to comment during the

Codes and Regulations Committee meeting of the Public Health and Health Planning Council.




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                                JOB IMPACT STATEMENT



       No Job Impact Statement is required pursuant to Section 201-a(2)(a) of the State

Administrative Procedure Act (SAPA). It is apparent, from the nature of the proposed

amendment, that it will have no impact on jobs and employment opportunities.




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                               EMERGENCY JUSTIFICATION

       Compliance with the requirements of the State Administrative Procedure Act for filing of

a regulation on a non-emergency basis including the requirement for a period of time for public

comment cannot be met because to do so would be detrimental to the health and safety of the

general public, particularly children.

        There currently exist outbreaks of measles in New York City and in the Counties of

Rockland, Orange, and Westchester, and cases have also been identified in the County of

Sullivan and Greene. Measles is a viral disease transmitted via the airborne route when a person

with measles coughs or sneezes. It is one of the most contagious diseases known. Following

exposure to the virus about 90% of people who are susceptible will develop measles.

        Measles virus can remain active and contagious for up to 2 hours in the air or on

surfaces. People can contract measles by walking into a room where an individual infected with

measles has been, being in an elevator after someone with measles has been there, or being next

to a person with measles who sneezes or coughs.

        Measles is characterized by a period of fever, which can be as high as 105 degrees F,

with cough, coryza, and/or conjunctivitis. A red rash typically presents 2-4 days later and lasts 5-

6 days. Hence, non-immune persons who are exposed to, and become infected with, measles are

contagious for four days before the rash appears.

        The rash usually starts on the face and proceeds down the body to involve the extremities

last and may include the palms and soles. The rash is usually discrete but may become confluent

on the upper body; it resolves in the same order that it appeared. Koplik’s spots (punctate blue-

white spots on the bright red background of the buccal mucosa) may be present, often before the

rash develops, but are often not seen and are not required for the diagnosis of measles.


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       Measles can be a very serious disease. This is especially true for children less than 5

years of age, adults who are over 20 years of age, pregnant women and those who are

immunocompromised. Common complications include ear infection and diarrhea. Severe

complications include pneumonia and encephalitis. About one child out of 1,000 will get

encephalitis, which can result in seizures. Deafness and other complications can occur. For every

1,000 cases of measles, one or two children will die, despite the best medical care. Measles can

also cause premature birth in pregnant women.

       The measles vaccine is very effective and remains the best protection against the disease.

One dose of measles vaccine is about 93% effective at preventing the measles if exposed to the

virus. Two doses are about 97% effective.

       The measles vaccine is safe and serious side effects are rare. Fever is the most common

side effect of the MMR vaccine. About 1 in 10 people will get a fever about a week to a week

and a half after vaccination. The fever usually lasts for a day or two and then gets better on its

own. About 1 in 20 people will develop a red rash about a week to a week and a half after MMR

or MMRV vaccine. The rash may look like measles but usually is much milder. There has never

been a documented case of a vaccinated person spreading measles as a result of receiving the

MMR vaccine. Severe allergic reactions rarely occur after the MMR vaccine.

       Despite the safety of the vaccine, because of underlying conditions or factors, some

individuals are not able to receive measles vaccination such as those who are

immunocompromised, women known to be pregnant or attempting to become pregnant, young

infants, or those who have a medical contraindication. Additionally, children under 5 years of

age are typically not fully immunized based on routine immunization schedules. Importantly,

these non-immune, under-vaccinated or higher risk individuals are at risk of contracting measles,


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may frequent healthcare settings, and are also most at risk for severe complications from

measles.

       Endemic measles transmissions have been eliminated in the United States. However,

because some individuals have chosen not to receive the vaccine and to not have their children

vaccinated, outbreaks stemming from imported cases have occurred and new cases continue to

occur in multiple counties across New York State.

       Chapter 35 of the Laws of 2019 was enacted in response to the current measles outbreak,

to increase the number of students immunized against this preventable disease. These regulations

are necessary in order to execute and implement this new law and, as such, delaying these

regulations would increase the risk of new outbreaks of measles or the spread of existing

outbreaks, placing children, and adults who lack immunity to measles, at greater risk of illness

and potentially severe complications including death.




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